     Case
  Name      2:17-cv-02386-ODW-PLA Document 79 Filed 07/20/18 Page 1 of 4 Page ID #:684
       and address:

Paul Z. McGlocklin, State Bar No. 265326
ATKINSON, ANDELSON, LOYA, RUUD & ROMO
201 S. Lake Avenue, Ste. 300
Pasadena, California 91101
Telephone: 626-583-8600
Fax: 626-583-8610
PMcGlocklin@aalrr.com

                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
                                                                 CASE NUMBER:
Kevin A. Shaw
                                                                 2:17-cv-02386-ODW-PLA
                                                  PLAINTIFF(S)
                                  v.

Kathleen F. Burke, et al.,                                                   NOTICE OF APPEARANCE OR
                                                                             WITHDRAWAL OF COUNSEL
                                                 DEFENDANT(S)
                                                      INSTRUCTIONS
Appearance of Counsel:
Attorneys may use this form to enter an appearance in a case, or to update the docket of a case to reflect a prior
appearance. To do so, complete Sections I, II, and IV of this form, then file and serve the form in the case. (Using an
attorney's CM/ECF login and password to file this form will expedite the addition of that attorney to the docket as counsel
of record.)
Withdrawal of Counsel:
This form may be used to terminate an attorney's status as counsel of record for a party in three situations: (1) the
attorney being terminated has already been relieved by the Court, but the docket does not yet reflect that fact; (2) at least
one member of the attorney's firm or agency will continue to represent that party and the withdrawing attorney is not the
only member of the Bar of this Court representing that party; or (3) the represented party has been dismissed from the
case, but the attorneys are still receiving notices of electronic filing. For any of these situations, complete Sections I, III,
and IV of this form, then file and serve the form in the case.
Note: In situations not covered above, attorneys seeking to withdraw from a case must first obtain permission from the
Court. In such circumstances, attorneys should complete and file a "Request for Approval of Substitution or Withdrawal of
Counsel" (Form G-01) rather than this "Notice of Appearance or Withdrawal of Counsel" (Form G-123). See Form G-01 for
further information.
SECTION I - IDENTIFYING INFORMATION
Please complete the following information for the attorney you wish to add or remove (if removing an attorney, provide the
information as it currently appears on the docket; if appearing pro hac vice, enter "PHV" in the field for "CA Bar Number"):
Name: Paul Z. McGlocklin                                                        CA Bar Number: 265326
Firm or agency:      Atkinson, Andelson, Loya, Ruud & Romo
Address:       201 S. Lake Avenue, Ste. 300, Pasadena, CA 91101
Telephone Number:            626-583-8600                        Fax Number: 626-583-8610
Email: pmcglocklin@aalrr.com
Counsel of record for the following party or parties: Kathleen F. Burke, Earic Dixon-Peters, William A. Marmolejo,
Juan C. Astorga, Francisco C. Rodriguez, Scott J. Svonkin, Sydney K. Kamlager, Mike Fong, Andra Hoffman,
Ernest H. Moreno, Gabriel Buenla, and Steven F. Veres

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                                                                                                         American LegalNet, Inc.
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SECTION II - TO ADD AN ATTORNEY TO THE DOCKET
Please select one of the following options:
        The attorney listed above has already appeared as counsel of record in this case and should have been added to the
        docket. The date of the attorney's first appearance in this case:
        The filing of this form constitutes the first appearance in this case of the attorney listed above. Other members of
        this attorney's firm or agency have previously appeared in the case.
        The filing of this form constitutes the first appearance in this case of the attorney listed above. No other members
        of this attorney's firm or agency have previously appeared in the case.
        By order of the court dated                            in case number                                 (see attached
        copy), the attorney listed above may appear in this case without applying for admission to practice pro hac vice.
        This case was transferred to this district by the Judicial Panel on Multidistrict Litigation ("JPML") pursuant to 28
        U.S.C. § 1407 from the                       District of                      , where it was assigned case number
                                 . The attorney listed above is counsel of record in this case in the transferee district, and is
        permitted by the rules of the JPML to continue to represent his or her client in this district without applying for
        admission to practice pro hac vice and without the appointment of local counsel.
        On                              , the attorney listed above was granted permission to appear in this case pro hac vice
        before the Bankruptcy Court, and L.Bankr.R. 8 authorizes the continuation of that representation in this case before
        the District Court.
In addition, if this is a criminal case, please check the applicable box below. The attorney listed above is:
               USAO      FPDO        CJA Appointment        Pro Bono       Retained


SECTION III - TO REMOVE AN ATTORNEY FROM THE DOCKET
Notices of Electronic Filing will be terminated. Please select one of the following options:

        The attorney named above has already been relieved by the Court as counsel of record in this case and should
        have been removed from the docket. Date of the order relieving this attorney:                                .

        Please remove the attorney named above from the docket of this case; at least one member of the firm or agency
        named above, and at least one member of the Bar of this Court, will continue to serve as counsel of record for the
        party or parties indicated.
        (Note: if you are removing yourself from the docket of this case as a result of separating from a firm or agency, you
        should consult Local Rules 5-4.8.1 and 83-2.4 and Form G-06 (“Notice of Change of Attorney Business or Contact
        Information”), concerning your obligations to notify the Clerk and parties of changes in your business or contact
        information.)
        The represented party has been dismissed from the case, but the attorneys are still receiving notices of electronic
        filing. Date party was dismissed:                              .

        The attorney named above was appointed on appeal and the appeal has been adjudicated. Date the mandate was
        filed:                          .


SECTION IV - SIGNATURE

I request that the Clerk update the docket as indicated above.

        Date: July 19, 2018                            Signature:
                                                       Name:        Paul
                                                                      ull Z.
                                                                          Z McGlocklin
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                                                               1                               CERTIFICATE OF SERVICE
                                                               2                    Case Name: Kevin Shaw v. Kathleen F. Burke, et al.
                                                               3                            Case No.: 2:17-cv-02386-ODW-PLA

                                                               4       On July 20, 2018, I filed the following document(s) described as NOTICE
                                                                 OF APPEARANCE OF COUNSEL electronically through the CM/ECF system.
                                                               5
                                                                 All parties on the Notice of Electronic Filing to receive electronic notice have been
                                                               6 served through the CM/ECF system.

                                                               7         The party(ies) listed on the attached Service List are currently on the list to
                                                                   receive e-mail notices for this case.
                                                               8
                                                                       BY EMAIL: I have caused the above-mentioned document(s) to be electronically
ATKINSON, ANDELSON, LOYA, RUUD & ROMO




                                                               9         served on the above-mentioned person(s), who are currently on the list to receive e-
                                                                         mail notices for this case.
                                                              10

                                                              11        I declare under penalty of perjury under the laws of the United States that the foregoing is
                           201 SOUTH LAKE AVENUE, SUITE 302
                             A PROFESSIONAL CORPORATION


                              PASADENA, CALIFORNIA 91101




                                                                 true and correct, and that I am employed in the office of a member of the bar of this court at
                               TELEPHONE: 626.583.8600




                                                              12
                                                                 whose direction the service was made.
                                  ATTORNEYS AT LAW



                                  FAX: 626.583.8610




                                                              13
                                                                         Executed on July 20, 2018, at Pasadena, California.
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                                                                                                         Regina R. Dennis
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                                                               1                                  SERVICE LIST
                                                               2   Attorneys for Plaintiff                          edoty@leaderberkon.com
                                                               3
                                                                   Emily Kate Doty                                  awillner@leaderberkon.com;
                                                                   Leader and Berkon LLP                            bbailey@leaderberkon.com;
                                                               4   660 South Figueroa Street Suite 1150             gjannace@leaderberkon.com;
                                                                   Los Angeles, CA 90017                            salvarenga@leaderberkon.com
                                                               5

                                                               6   Marieke T Beck-Coon                              brynne.madway@thefire.org;
                                                                   Brynne S. Madway                                 marieke@thefire.org
                                                               7   The Foundation for Individual Rights Education
                                                               8   510 Walnut Street Suite 1250
                                                                   Philadelphia, PA 19106
ATKINSON, ANDELSON, LOYA, RUUD & ROMO




                                                               9

                                                              10
                                                                   Attorneys for Defendant, Charles Johnson

                                                              11   Emily T Kuwahara                                 ekuwahara@crowell.com;
                                                                   Crowell & Moring LLP                             caustin@crowell.com;
                           201 SOUTH LAKE AVENUE, SUITE 302
                             A PROFESSIONAL CORPORATION


                              PASADENA, CALIFORNIA 91101




                                                                   515 South Flower Street 40th Floor               dwest@crowell.com;
                               TELEPHONE: 626.583.8600




                                                              12
                                  ATTORNEYS AT LAW



                                  FAX: 626.583.8610




                                                                   Los Angeles, CA 90071                            lmalson@crowell.com
                                                              13

                                                              14   Interested Party
                                                              15   Vikram Swaruup                                   vikram.swaruup@usdoj.gov
                                                                   US Department of Justice
                                                              16
                                                                   Civil Rights Division - Appellate Section
                                                              17   PO Box 14403 Ben Franklin Station
                                                                   Washington, DC 20044-4403
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